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                             UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF INDIANA
                                 INDIANAPOLIS DIVISION


  UNITED STATES OF AMERICA,                           )
                                                      )
                                Plaintiff,            )
                                                      )
                       vs.                            )      No. 1:13-cr-00111-TWP-DKL
                                                      )
  JONATHAN NEILL (01),                                )
                                                      )
                                Defendant.            )

                 ORDER ADOPTING REPORT AND RECOMMENDATION

       On October 2, 2015, the Magistrate Judge submitted his Report and Recommendation

regarding the United States Probation Office’s Petition for Warrant or Summons for Offender Under

Supervision (Dkt. 76). The parties were afforded due opportunity pursuant to statute and the rules of

this Court to file objections; none were filed. The Court, having considered the Magistrate Judge’s

Report and Recommendation, hereby adopts the Magistrate Judge’s Report and Recommendation.


       Date: 10/26/2015




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